                     Case No. 23-1374 & 23-1880

               UNITED STATES COURT OF APPEALS
                   FOR THE EIGHTH CIRCUIT

           BROOKE HENDERSON and JENNIFER LUMLEY,

                                           Plaintiffs-Appellants,
                                    v.
          SCHOOL DISTRICT OF SPRINGFIELD R-12, et al.,
                                                   Appellees.

    MOTION OF GOLDWATER INSTITUTE, KANSAS JUSTICE
  INSTITUTE, MISSISSIPPI JUSTICE INSTITUTE, AND SHOW ME
 INSTITUTE FOR LEAVE TO FILE BRIEF AS AMICUS CURIAE IN
SUPPORT OF APPELLANTS AND REVERSAL OF ATTORNEY FEES

             On Appeal from the United States District Court
             for the Western District of Missouri - Springfield
       Case No. 6:21-cv-03219, Hon. M. Douglas Harpool, presiding

                                    Scharf-Norton Center for
                                    Constitutional Litigation at the
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        Pursuant to Federal Rule of Appellate Procedure 29, proposed Amici move

for leave to file the attached brief in support of the Appellants, Brooke Henderson

and Jennifer Lumley and in support of reversal. Counsel for Appellants have

consented to the filing of this brief. Counsel for Appellees have denied consent,

necessitating the filing of this motion.

I.      Identity and interest of amici curiae

        The Goldwater Institute, the Kansas Justice Institute, the Mississippi Justice

Institute, and the Show Me Institute are all non-profit public interest legal

organizations (located in Arizona, Kansas, Mississippi, Missouri, and Michigan,

respectively) devoted to the vindication of constitutional rights against government

overreach and abuse. They litigate, file amicus briefs, publish legal research, and

otherwise advocate for constitutional principles such as the freedom of speech and

the promotion of a color-blind society in which government treats everybody the

same without regard to skin color. They have appeared in state and federal courts

across the country in support of their institutional principles, see, e.g., Vizaline,

L.L.C. v. Tracy, 949 F.3d 927 (5th Cir. 2020); Mo. Broad. Ass’n v. Schmitt, 946

F.3d 453 (8th Cir. 2020); Beavers v. City of Jackson, 439 F. Supp.3d 824 (S.D.

Miss. 2020); Crowe v. Or. State Bar, 989 F.3d 714 (9th Cir. 2021), including in

this court. Fleck v. Wetch, 937 F.3d 1112 (8th Cir. 2019).




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II.      The proposed brief will aid this Court in consideration of the appeal.

         This case concerns the free speech rights of public school employees who

were compelled to attend an “anti-racism” (AR) training where they were required

to agree that they are inherently racist and that they must take steps to purge

themselves of racism. Appellants either spoke up to disagree, whereupon they

were told they were wrong, or they chose to censor themselves rather than incur

retaliation. The District Court found that no “chilling effect” had resulted, and

ruled against Plaintiffs, declaring the case frivolous and awarding attorney fees to

the government. This raises two grounds of particular concern to amici.

         First, amici endorse a color-blind view of the Constitution, which holds that

the government may not discriminate against any person based on race. AR

expressly rejects color-blindness, asserts that the government should treat people

differently based on race, and even holds that color-blindness is a form of racism.

The proposed brief explains AR theory in detail, and why being compelled to

participate in AR training—and thus effectively forbidden from defending

themselves from the accusation of racism—necessarily would have caused a

reasonable person to believe that speaking up in self-defense would result in

retaliation. Amici regularly deal with cases involving “chilling effects,” see, e.g.,

Rio Grande Found. v. City of Santa Fe, 7 F.4th 956 (10th Cir. 2021), cert. denied,

142 S. Ct. 1670 (2022), and with matters involving AR theory. See, e.g., Patrick




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Ishmael, “Loyalty Oaths” Have No Business in Missouri’s Public Universities,

Show-Me Newsletter 5 (2023)1; Samuel Dodge, Parent Sues Michigan School

District for Ethnic, Gender Studies Course Material, MI Live (Mar 16 2022)2; and

have published scholarship on AR doctrine. See, e.g., Jonathan Butcher, Splintered

(2022). Amici therefore believe their litigation and policy experience will aid this

Court in consideration of the appeal.

       Second, because amici regularly litigate against government wrongdoing, in

defense of the public interest, just as the appellants’ counsel are doing here, amici

are institutionally concerned with the improper award of attorney fees against

plaintiffs in civil rights cases. GI even recently published an important research

paper on the way such fee awards can stifle legitimate public interest litigation.

See Deborah La Fetra, Fee Awards Turned Upside-Down: A Threat to Public-

Interest Litigation, Goldwater Institute (Mar. 26, 2019).3 Amici therefore believe

their litigation experience will also assist the Court in its consideration of the

attorney fee award.




1
  https://showmeinstitute.org/wp-content/uploads/2023/04/2023-Newsletter-1.pdf.
2
  https://www.mlive.com/news/2022/03/parent-sues-michigan-school-district-for-
ethnic-gender-studies-course-material.html.
3
  https://www.goldwaterinstitute.org/wp-content/uploads/2019/04/Fee-awards-
turned-upside-down_326.pdf.



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III.   The Court should grant the motion

       The proposed brief complies with all applicable rules regarding length and

time for filing. Counsel for Appellees were timely informed of Amici’s intent to

file, and would have sufficient time to respond to it in their own brief if necessary.

No party and no counsel for any party authored any part of the proposed amicus

brief, and no party or counsel for a party made any monetary contribution intended

to fund its preparation or submission. Nor did any other person or entity make any

monetary contribution intended to fund the preparation or submission of the

proposed brief.

       Amici curiae “perform a valuable role for the judiciary” because as non-

parties, they can “assist the court by broadening its perspective on the issues raised

by the parties” and “enrich[] the judicial decision-making process.” Connerly v.

State Pers. Bd., 37 Cal.4th 1169, 1177 (2006) (citation omitted). This Court has

frequently remarked on the value of amicus briefing. See, e.g., N. States Power

Co. v. State of Minn., 447 F.2d 1143, 1145 (8th Cir. 1971); Jones v. Alfred H.

Mayer Co., 379 F.2d 33, 34 (8th Cir. 1967); Barrera v. Wheeler, 531 F.2d 402, 408

(8th Cir. 1976).

       As Judge—now Justice—Alito explained in Neonatology Assoc., P.A. v.

Comm’r of Internal Revenue, 293 F.3d 128, 131 (3d Cir. 2002), participation by

amici curiae “promotes sound decision making” by ensuring “strong (but fair)




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advocacy on behalf of opposing views.” Judge Alito observed that it was not

necessary for an amicus to show that it was impartial, or that the parties to the case

are inadequately represented before filing a brief, because “an amicus who makes a

strong but responsible presentation in support of a party can truly serve as the

court’s friend,” and because “requiring a prospective amicus to undertake the

distasteful task of showing that the attorney for the party that the amicus wishes to

support is incompetent is likely to discourage amici in instances in which the

party’s brief is less than ideal and an amicus submission would be valuable to the

court.” Id. at 131–32.

                                  CONCLUSION

      The motion for leave to participate as amici should be granted.

Date: May 18, 2023

                                        /s/ Timothy Sandefur
                                        Timothy Sandefur
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                      CERTIFICATE OF COMPLIANCE

      Pursuant to Fed. R. App. P. 32(a)(7)(C), I certify that:

      This motion complies with the type-volume limitation of Fed. R. App. P.

27(d)(2)(A) because this brief contains 996 words.

      This brief complies with the typeface requirements of Fed. R. App. P.

32(a)(5) and the type style requirements of Fed. R. App. P. 32(a)(6) because this

brief has been prepared in proportionately spaced typeface using Microsoft Word

Times New Roman 14-point font.

Date: May 19, 2023

                                        /s/ Timothy Sandefur
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                         CERTIFICATE OF SERVICE

      I hereby certify that on May 19, 2023, I electronically filed the foregoing

document with the Clerk of the Court for the United States Court of Appeals for

the Ninth Circuit by using the appellate CM/ECF system.

      I certify that all participants in the case are registered CM/ECF users and

that service will be accomplished by the appellate CM/ECF system.

/s/ Timothy Sandefur
Timothy Sandefur




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